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To the LR.I. Judiciary, License No.733
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Official Translation from Persian Text

Bar Association
Licence No.: 3287 Shiota
Date of issue: Novermber 27, 1978
of the
Date of renewal: March 15, 2010 Kale
Ath Booklet

First Grade Advocate's Licence

By virtue ofArticle 7 of the law concerning the Independence of the Bar
Association, this license is Hereby granted to: Mehrangiz Karkheyran, daughter of
Mostafa, holder of ID Card No. 354, issued at Anwaz, born in 1944, whose place of
practice is in Tehran, is, hereby, authorized to practice the profession of first grade
attorney-at-law.

Validity of the present Licence shall be subject to cancellation of revenue stamps
and apposition of seal and signature of the Bar Association.
President, Iranian Central Bar Association

Registered under No. 13309-11711, dated February 21, 2010 in the Register of Bar
Association. The present Licence shall be valid from October 2008 to October
2010.

Signed and sealed
Central Bar Association

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